                               Case 18-11555-KJC                       Doc 1          Filed 06/28/18          Page 1 of 16
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                           District of             Delaware
                                         (State)

 Case number (If known):                                    Chapter              11                                                          Check if this is an
                                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                      04/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1. Debtor’s name                            Ritchie Risk-Linked Strategies, L.L.C.


                                            None
2. All other names debtor used
   in the last 8 years
    Include any assumed names,
   trade names, and doing business
   as names



3. Debtor’s federal Employer
   Identification Number (EIN)              XX-XXXXXXX



4. Debtor’s address                         Principal place of business                                        Mailing address, if different from principal
                                                                                                               place of business

                                            200 Continental Drive
                                            Number        Street                                                Number     Street



                                                                                                               P.O. Box

                                            Newark                       DE              19713
                                            City                        State          ZIP Code                City                  State      ZIP Code


                                                                                                               Location of principal assets, if different
                                                                                                               from principal place of business

                                            New Castle
                                            County                                                              Number     Street




                                                                                                               City                   State           ZIP Code




5. Debtor’s website (URL)                   None

6. Type of debtor                                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                   Partnership (excluding LLP)
                                                   Other. Specify:


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Debtor        Ritchie Risk-Linked Strategies, L.L.C.                                         Case number (if known)
             Name



7. Describe debtor’s business        A. Check one:

                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above


                                     B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                         § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                     C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                525990

8. Under which chapter of the        Check one:
   Bankruptcy Code is the
   debtor filing?                        Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                            4/01/19 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201 A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                          Chapter 12


9. Were prior bankruptcy cases
                                         No
   filed by or against the debtor
   within the last 8 years?              Yes.    District                             When                       Case number
                                                                                             MM / DD / YYYY
   If more than 2 cases, attach a
                                                District                             When                       Case number
   separate list.
                                                                                             MM / DD / YYYY

10. Are any bankruptcy cases
    pending or being filed by a          No
    business partner or an              Yes.    Debtor                                                          Relationship
    affiliate of the debtor?                    District                                                        When
                                                                                                                               MM / DD / YYYY
   List all cases. If more than 1,              Case number, if known
   attach a separate list.
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Debtor   Ritchie Risk-Linked Strategies, L.L.C.                                             Case number (if known)
              Name



11. Why is the case filed in this    Check all that apply:
    district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.Does the debtor own or have           No
   possession of any real
                                         Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                   What is the hazard?

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                   (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                   other options).

                                                   Other



                                              Where is the property?
                                                                           Number          Street




                                                                           City                                          State       ZIP Code


                                              Is the property insured?

                                                   No
                                                   Yes. Insurance agency

                                                        Contact name

                                                        Phone




            Statistical and administrative information



13. Debtor’s estimation of           Check one:
    available funds                      Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.



                                         1-49                               1,000-5,000                              25,001-50,000
14. Estimated number of                  50-99                              5,001-10,000                             50,001-100,000
    creditors
                                         100-199                           10,001-25,000                             More than 100,000
                                         200-999

                                         $0-$50,000                        $1,000,001-$10 million                    $500,000,001-$1 billion
15. Estimated assets                     $50,001-$100,000                  $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                         $100,001-$500,000                 $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                         $500,001-$1 million               $100,000,001-$500 million                 More than $50 billion


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      Fill in this information to identify the case:

      Debtor name    Ritchie Risk-Linked Strategies, L.L.C.
      United States Bankruptcy Court for the:   District of Delaware
                                                                                                                                                  Check if this is an
      Case number (If known):                                                                                                                     amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                       12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and Nature of the claim      Indicate if     Amount of unsecured claim
     mailing address, including zip code         email address of creditor   (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
                                                 contact                     debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional             unliquidated,   total claim amount and deduction for value of
                                                                             services, and            or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                      Total claim, if    Deduction for       Unsecured
                                                                                                                      partially          value of            claim
                                                                                                                      secured            collateral or
                                                                                                                                         setoff
                                                Donna Mccue
1    McGuire Woods LLP                          312-750-3629
     77 West Wacker Dr, Suite 4100              DMCCue@mcguirewoods.com       Professional Services
     Chicago, IL 60601-1818
                                                                                                                                                                    $111,092
                                                Jeffrey E Crane
2
     Law Office of Jeffrey Crane LLC            847-239-7239
     105 W Madison St, Suite 1500               jeff@jeffcranelaw.com         Professional Services
     Chicago, IL 60602
                                                                                                                                                                     $57,464
3
     Valterra Holdings, LLC                     Anthony Dilweg
     5310 South Alston Avenue,                  919-402-9100                  Unsecured Promissory
     Suite 210                                  adilweg@dilweg.com            Note
     Durham, NC 27713
                                                                                                                                                                     $25,124
                                                Frank Fernandes
4    Frank Fernandes                            630-816-5165                  Unsecured Promissory
     4N280 Waterford Lane                       wenfern89@aol.com             Note
     West Chicago, IL
                                                                                                                                                                     $24,982
                                                Gary Grasso
5    Grasso Bass                                630-654-4500
     38 S Blaine ST, Suite 100                  accounting@grassolaw.com      Professional Services
     Hinsdale, IL 60521
                                                                                                                                                                     $11,621
                                                John Sabo
6    Clayborne Wagner Sabo                      618-239-0187
     525 W. Main St                             jsabo@cswlawllp.com           Professional Services
     Belleville, IL 62220
                                                                                                                                                                       $3,200




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                                                                                                      Case number (if
     Debtor         Ritchie Risk-Linked Strategies, L.L.C.                                            known)
                    Name

      Name of creditor and complete mailing Name, telephone number, and        Nature of the claim     Indicate if      Amount of unsecured claim
      address, including zip code           email address of creditor         (for example, trade      claim is         If the claim is fully unsecured, fill in only unsecured
                                            contact                           debts, bank loans,       contingent,      claim amount. If claim is partially secured, fill in
                                                                              professional             unliquidated,    total claim amount and deduction for value of
                                                                              services, and            or disputed      collateral or setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff
                                               Michael Barbieri
7
      Global Intelligence Consultants, Inc.    314-391-2300
      130 S. Bemiston Ave.                     mike@gicagency.com
      Clayton, MO 63105                                                       Professional Services
                                                                                                                                                                         $1,600
                                               Richard Elias
8     Elias Gutzler Spicer                     314-833-6645
      130 South Bemiston                       relias@egslitigation.com       Professional Services
      Clayton, MO 63105
                                                                                                                                                                         $1,450
                                               Charles Mack
9     Mack Law Group                           847-239-7212
      1363 Shermer Road                        charles@mlgcounsel.net
      Northbrook, IL 60062                                                    Professional Services

                                                                                                                                                                         $1,125
                                               John Frycek
10
      Special Solutions, Ltd                   847-803-6922
      7524 N Harlem Ave.                       john@specialsolutionsltd.com
      Chicago, IL 60631                                                       Professional Services

                                                                                                                                                                           $750
                                               Christina
11
      Regus Group Companies                    1-855-400-3575                 Goods provided
      200 Continental Drive
      Newark DE 19713
                                                                                                                                                                           $728
                                               Nyah K King
12 Kroll Discovery                             952-937-1107
   9023 Columbine Rd                           AR.KO@KrollDiscovery.com       Professional Services
   Eden Prairie, MN 55347
                                                                                                                                                                           $250

13 Arch Specialty Insurance Co.                                                                         Contingent,
                                                T:312-601-8400                                          Unliquidated
   311 South Wacker Drive, Suite 3700                                         Recoupment Claim                                                                                $0
                                                F:866-266-3630                                              and
   Chicago, IL 60606
                                                                                                         Disputed

14 Continental Casualty                                                                                 Contingent,
                                                                                                        Unliquidated
   333 South Wabash Avenue                      T: 312-822-5000               Recoupment Claim                                                                                $0
                                                                                                            and
   Chicago, IL 60604
                                                                                                         Disputed

15

16

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     Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                Chapter 11

RITCHIE RISK-LINKED STRATEGIES,                       Case No. 18-______ (___)
L.L.C.,
                           1
                 Debtor.


                           CORPORATE OWNERSHIP STATEMENT

         Pursuant to Federal Rules of Bankruptcy Procedures 1007(a)(1) and 7007.1, the

following limited liability company is the only entity that directly or indirectly owns 10% or

more of any class of the Debtor’s equity interests:

               SHAREHOLDER                            APPROX. OWNERSHIP PERCENTAGE
                                                                                 2
Ritchie Multi-Strategy Global, LLC                                      95.49%




1
 The last four digits of the Debtor’s federal tax identification number are 0458. The Debtor’s mailing
address for purposes of this Chapter 11 case is: 200 Continental Drive, Newark, DE 19713.
2
 Benchmark Plus Institutional Partners LLC holds 37.43% of the payment rights of the General Class of
Ritchie Multi-Strategy Global, LLC. Ritchie Risk-Linked Strategies, L.L.C. is owned by the General
Class.
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                   Chapter 11

RITCHIE RISK-LINKED STRATEGIES,                          Case No. 18-______ (___)
L.L.C.,
                              1
                    Debtor.


                              LIST OF EQUITY SECURITY HOLDERS

          Following is the list of the Debtor’s equity security holders, which is prepared in

accordance with Rule 1007(a)(3) for filing in this chapter 11 case.


         Name of Equity Holder        Security Class    Percentage of Securities     Kind of Interest

Ritchie Multi-Strategy Global, LLC          A                   95.49%             Membership Interests
c/o The Corporation Trust Company
1209 Orange Street
Wilmington, DE 19801

Ritchie Partners, LLC                       B                   0.97%              Membership Interests
c/o Harvard Business Services, Inc.
16192 Coastal Highway
Lewes, DE 19958

Joseph and Jeanne Scoby                     B                   3.54%              Membership Interests
1204 Westview Rd
Glenview, IL 60025




1
 The last four digits of the Debtor’s federal tax identification number are 0458. The Debtor’s mailing
address for purposes of this Chapter 11 case is: 200 Continental Drive, Newark, DE 19713.




                                                                                   US_ACTIVE-141339767.1-JBLORD
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